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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                      :

        - v. -                                                :      23 Cr. 16 (JHR)

CHARLES McGONIGAL,                                            :

                                  Defendant.                  :

---------------------------------------------------------------x




                     THE GOVERNMENT’S SENTENCING SUBMISSION




                                                              DAMIAN WILLIAMS
                                                              United States Attorney for the
                                                              Southern District of New York
                                                              Attorney for the United States of America




Hagan Scotten
Rebecca T. Dell
Derek Wikstrom
Assistant United States Attorneys
Of Counsel
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       The Government respectfully submits this memorandum in advance of the sentencing of

defendant Charles McGonigal. As set forth below, because McGonigal abused the skills and

influence his country entrusted him with by secretly working for the very threats he had previously

protected it against, this Court should impose a sentence of 60 months’ imprisonment and a fine

of $200,000—the top of the range under the United States Sentencing Guidelines (“U.S.S.G.” or

the “Guidelines”).

I.     The Offense Conduct

       From 2016 until his retirement, McGonigal served as the Special Agent in Charge (“SAC”)

of the Counterintelligence Division of the FBI’s New York Field Office. (PSR ¶ 15). That job is,

as McGonigal acknowledges, “one of the most important, preeminent counterintelligence positions

in the world.” (Br. 11-12).

       Beginning at least in 2017, McGonigal abused his “important, preeminent” position to

develop relationships that could enrich him after he left the FBI. For example, on April 12, 2017,

McGonigal bragged to his co-defendant in this case that he had “just secured a very good contact

in the Albanian Gov[ernment] for future business development. Always working toward the

future.” (PSR ¶ 20). By 2018, McGonigal had agreed with a friend to participate in a consulting

business called Spectrum Risk Solutions while McGonigal was still serving as SAC. (PSR ¶¶ 20,

48). 1 McGonigal used a corporate email account and cellphone under a false name in order to

conceal the fact that he was working at Spectrum while still employed as the FBI’s New York

counterintelligence chief. (PSR ¶¶ 20, 48).




1
        Although these entities were anonymized in the Indictment, their names have since been
used in public filings. (See, e.g., Dkt. 85).
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       As part of abusing his official position to make business contacts, McGonigal developed a

relationship with Yevgeniy Fokin, an agent of Oleg Deripaska. (PSR ¶ 21). Deripaska is a Russian

national often referred to as an oligarch, meaning that he has vast wealth and close connections to

the Russian state. (PSR ¶ 17). On April 6, 2018, the United States Department of the Treasury’s

Office of Foreign Assets Control (“OFAC”) imposed sanctions on Deripaska in connection with

its finding that Russia’s actions toward Ukraine constitute an unusual and extraordinary threat to

the national security and foreign policy of the United States. (PSR ¶ 17). OFAC designated

Deripaska under Executive Order 13661 for having acted or purported to act for or on behalf of,

directly or indirectly, a senior official of the Government of the Russian Federation, among other

grounds. (PSR ¶ 17). The District Court for the District of Columbia later affirmed the sanctions

finding, among other things, that OFAC’s determination that Deripaska acted as an agent of

Russian President Vladimir Putin was supported by the evidence. (PSR ¶ 17).

       McGonigal knew full well that Deripaska was sanctioned. As SAC, McGonigal supervised

and participated in investigations of Russian oligarchs, including Deripaska. (PSR ¶ 19). Among

other things, in May 2017, McGonigal received a then-classified email stating that Deripaska was

associated with a Russian intelligence agency, and possibly involved in that agency’s coup attempt

in another country. (PSR ¶ 19). And in January 2018, McGonigal received and reviewed a then-

classified list of Russian oligarchs with close ties to the Kremlin who would be considered for

sanctions to be imposed as a result of Russia’s 2014 attack on Ukraine. (PSR ¶ 19).

       In March 2018, McGonigal met Fokin through Sergey Shestakov. (PSR ¶ 21). Fokin had

previously served as a diplomat for the Soviet Union and the Russian Federation, and was rumored

in public media reports to be a Russian intelligence officer. (PSR ¶ 21). Fokin worked for and




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reported to Deripaska, and served as an officer of a corporation that, in 2018, was primarily owned

by Deripaska and itself subject to sanctions. (PSR ¶ 21).

       Shestakov asked McGonigal to help Fokin obtain an internship with the New York City

Police Department for Fokin’s daughter. (PSR ¶ 22). McGonigal in turn requested assistance

from a contact in the NYPD, telling him “I have an interest in her father for a number of reasons.”

(PSR ¶ 22). McGonigal also told a subordinate that he wanted to recruit Fokin, who was,

according to McGonigal, a Russian intelligence officer. (PSR ¶ 22). Through McGonigal’s

efforts, Fokin’s daughter received VIP treatment from the NYPD. (PSR ¶ 22). An NYPD sergeant

assigned to brief Fokin’s daughter subsequently reported the event to the NYPD and FBI, in part

because Fokin’s daughter claimed to have an unusually close relationship to “an FBI agent” who

had given her access to confidential FBI files, and it was unusual for a college student to receive

such special treatment from the NYPD and FBI. (PSR ¶ 22).

       After McGonigal retired from the FBI, Shestakov and McGonigal introduced Fokin to a

law firm. (PSR ¶ 23). Fokin sought to retain the law firm to work in having the sanctions against

Deripaska lifted, work that is not itself illegal under the sanctions.      (PSR ¶ 23).    During

negotiations to retain the firm, McGonigal met Deripaska and others at Deripaska’s residence in

London, and in Vienna. (PSR ¶ 23). After Deripaska hired the firm, it paid McGonigal $25,000.

(PSR ¶ 23).

       In the spring of 2021, Fokin began negotiating with McGonigal and Shestakov to work for

Deripaska, without the involvement of the law firm. (PSR ¶ 24). Through Fokin, Deripaska hired

McGonigal to investigate Vladimir Potanin, a rival Russian oligarch. (PSR ¶ 24). McGonigal

later said that a goal of the project was to convince OFAC to add Deripaska’s competitor to the

OFAC sanctions. (PSR ¶ 24).


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       In August 2021, McGonigal, Shestakov, and Fokin executed a contract stating that a

Cyprus corporation called Pandean would pay Spectrum $51,280 upon execution of the contract

and $41,790 per month. (PSR ¶ 25). Although the payments in fact would be made to McGonigal

and Shestakov at the behest of Deripaska, as negotiated by Fokin, none of those people was named

in or signed the contract. (PSR ¶ 25). McGonigal and his co-conspirators also took other measures

to conceal their crimes, including using encrypted communications and not referring to Deripaska

by name. (PSR ¶ 25).

       On August 13, 2021, a Russian bank wired $51,280 to Spectrum, followed by monthly

payments of $41,790 between August 18 and November 18, 2021. (PSR ¶ 25). McGonigal told

Shestakov that he had not informed Spectrum’s owner—McGonigal’s friend—that he was using

Spectrum to receive Deripaska’s money. (See PSR ¶ 26). When the owner later questioned why

a Russian bank was wiring thousands of dollars to his company, McGonigal told his friend that it

was payment for “legitimate” work McGonigal was performing for “a rich Russian guy.” (PSR

¶ 26). McGonigal’s friend acquiesced, and later transferred funds at McGonigal’s direction,

including to McGonigal and Shestakov. (PSR ¶ 26).

       In return for Deripaska’s money, McGonigal sought to gather derogatory information about

Potanin, and his interest in a corporation that he and Deripaska were vying to control. (See PSR

¶ 27). McGonigal retained subcontractors to assist in this endeavor, without informing them that

they were in fact working for a sanctioned Russian oligarch. (PSR ¶ 27). On October 28, 2021,

one of those subcontractors informed McGonigal that a third-party had located “dark web” files

that could reveal “hidden assets valued at more than 500 million us $” and other information that

McGonigal believed would be valuable to Deripaska. (PSR ¶ 27). The subcontractor told

McGonigal that the files could be purchased for $650,000, but McGonigal told Shestakov that the


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price would be $3,000,000. (PSR ¶ 27). For several weeks, McGonigal and Shestakov negotiated

with Fokin to obtain funds from Deripaska to purchase these “dark web” files. (PSR ¶ 27). Before

McGonigal could complete the transaction—or secure the huge profits it would entail—the FBI

seized McGonigal’s and Shestakov’s cellphones, effectively ending the scheme in late November

2021. (See PSR ¶ 27).

II.    The United States Sentencing Guidelines

       The recommended sentencing range under the Guidelines is described in detail in the

Presentence Report. (See PSR ¶¶ 36-51, 92). The calculations in the Presentence Report are

materially the same as those in the plea agreement, and are not disputed by either party. (See PSR

¶ 93; Br. 4-5). 2 In short, absent the statutory maximum, the Guidelines recommend a sentence of

57 to 71 months’ imprisonment for McGonigal’s crimes. (PSR ¶ 93). But because McGonigal

was allowed to plead guilty to a statute carrying a maximum sentence of 60 months as

consideration for his timely guilty plea, his recommended sentence is 57 to 60 months’

imprisonment. (PSR ¶ 93). The Guidelines also recommend a fine of between $20,000 and

$200,000. (PSR ¶ 100).


2
         The Presentence Report assigns one criminal history point to McGonigal, because he has
also pled guilty to committing a felony in the District of Columbia, but not yet been sentenced for
that crime. (See PSR ¶ 48). That point is not reflected in the plea agreement because McGonigal
had not yet pled guilty in his other case at the time of his plea here. (See PSR ¶¶ 3, 48, 93). The
Presentence Report correctly states that this criminal history point does not affect McGonigal’s
Criminal History Category under the Guidelines, and thus does not cause any variance between
the Guidelines calculations in the plea agreement and those in the Presentence Report. (PSR ¶ 93).
McGonigal’s other conviction is not, however, entirely without consequence under the Guidelines.
Because McGonigal has a criminal history point, he is not eligible for the offense level reduction
that the November 1, 2023 amendments to the Guidelines made available to first-time offenders
with no criminal history points. See U.S.S.G. § 4C1.1. Appropriately so: McGonigal is not a
first-time offender; he committed different felonies over multiple years, and merely evaded
detection of his earliest crimes until his more recent ones also caught up with him. (See PSR ¶¶ 15-
30, 48).

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III.   The 18 U.S.C. § 3553(a) Factors

       Charles McGonigal rose through the ranks of the FBI to gain one its most prestigious titles,

and to hold one of its most important national security positions. He supervised countless

investigations and arrests for national security crimes—including for sanctions evasion and money

laundering. At exactly the same time, McGonigal was taking advantage of his position to build a

rolodex of rogues to whom he could offer his services after retiring. Those duplicitous efforts

began to bear fruit when he entered a contract with Oleg Deripaska, a notorious henchman of

Vladimir Putin, sanctioned by multiple administrations for posing a threat to America’s national

security. Although the FBI unraveled McGonigal’s scheme before he could reap significant profit,

the real damage was already done:           One of America’s most “prestigious, important”

counterintelligence officials had betrayed his country and manipulated a sanctions regime vital to

its national security. The sentencing factors in 18 U.S.C. § 3553(a) support the highest sentence

recommended by the Guidelines.

       A.      The Nature, Circumstances, and Seriousness of the Offense

       A 60-month sentence and a $200,000 fine are necessary to reflect “the nature and

circumstances of the offense,” § 3553(a)(1), and “the seriousness of the offense,” § 3553(a)(2)(A).

The sanctions McGonigal violated were imposed in response to crises that three different

Presidents found to constitute a national emergency. See Executive Order 13360 (March 6, 2014);

(PSR ¶¶ 12-15). Such sanctions are vital to our national security not only because they can form

an effective response to threats, but because they allow America to respond without more drastic

steps, such as military force. (See Ex. A (Sentencing Transcript in United States v. Bahadorifar,

21 Cr. 430 (RA) (S.D.N.Y. 2021)) at 35 (explaining that if sanctions are ineffective, then “the risk

of war increases”)).    The specific target of the sanctions here illustrates their importance:


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Deripaska is one of Russia’s wealthiest oligarchs—tycoons who serve as arms of Vladimir Putin,

using their wealth and influence to carry out Putin’s will in Russia and abroad. (See PSR ¶¶ 17-19).

Among other things:

       Deripaska has said that he does not separate himself from the Russian state. He has
       also acknowledged possessing a Russian diplomatic passport, and claims to have
       represented the Russian government in other countries. Deripaska has been
       investigated for money laundering, and has been accused of threatening the lives of
       business rivals, illegally wiretapping a government official, and taking part in
       extortion and racketeering. There are also allegations that Deripaska bribed a
       government official, ordered the murder of a businessman, and had links to a
       Russian organized crime group.

Deripaska v. Yellen, No. 21-5157, 2022 WL 986220, at *2 (D.C. Cir. Mar. 29, 2022) (quoting

OFAC announcement of sanctions against Deripaska), cert. denied, 143 S. Ct. 117 (2022); see also

Deripaska v. Yellen, 19 Civ. 00727 (APM), 2021 WL 2417425, at *7 (D.D.C. June 13, 2021)

(evidence showed that Deripaska “unquestionably” acted as an agent of Putin). There should be

no dispute that violating the sanctions against such a man is a serious crime.

       McGonigal also cannot claim that he was unaware that he was selling his services to a

scoundrel working against America’s interests.          As a senior counterintelligence official,

McGonigal was responsible for enforcing those sanctions at the very same time he began providing

special treatment to Deripaska’s agent, Yevgeniy Fokin. (See PSR ¶¶ 19-22). Indeed, while

McGonigal was secretly cozying up to Fokin, his counterintelligence division was being publicly

touted for its successes in other sanctions cases. See, e.g., https://www.justice.gov/opa/pr/turkish-

banker-covicted-conspiring-evade-us-sanctions-against-iran-and-other-offenses.        It is not an

overstatement to say that no one knew better the gravity of McGonigal’s crimes than McGonigal

himself.

       McGonigal nonetheless claims his crime was “malum prohibitum rather than malum in se.”

(Br. 23). It is entirely unclear how a senior American counterintelligence official offering his

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services to an agent of Vladimir Putin “does not amount to moral turpitude,” Korea Life Ins. Co.

v. Morgan Guar. Tr. Co. of New York, 269 F. Supp. 2d 424, 441 (S.D.N.Y. 2003) (explaining

malum prohibitum). McGonigal’s attempts to suggest otherwise show how indefensible this

position is. He quotes the Government’s statement that this case is “simple.” (Br. 22). So is

murder, but that does not make it a mere regulatory offense. He claims that he provided “indirect

services” to Deripaska. (Br. 22-23). But Deripaska—who McGonigal met with personally, twice

(PSR ¶ 23)—sits atop a massive business empire. He would no more be expected to directly

supervise McGonigal than Putin must directly supervise Deripaska. And to the extent McGonigal

means to imply there is anything novel about this simple case (see Br. 22), he contradicts his clear

prior admission that he knew what he did was “wrong and unlawful” (Dkt. 59 at 34).

       McGonigal most clearly errs in claiming as mitigation that the purpose of his efforts was

to convince OFAC to sanction Potanin, Deripaska’s rival, thus rendering his crime “consistent

with, not in tension with, U.S. foreign policy.” (Br. 6-7). To the contrary, crimes like McGonigal’s

undermine the legitimacy of American sanctions. McGonigal has admitted that he tried to help

Deripaska manipulate OFAC in order to handicap a rival. That the rival is now also sanctioned

(Br. 7) is irrelevant: The United States cannot maintain a sanctions regime that the world will

accept as a legitimate national security necessity if that regime can in fact be manipulated by

foreign oligarchs and their henchmen. 3 McGonigal can no more claim his mercenary foreign



3
         The targets of American sanctions—Russia, for example—often criticize the sanctions as
illegitimate. See, e.g., Putin rails against ‘illegitimate sanctions’ on Russia, THE HILL, Aug. 23,
2023,      available     at    https://thehill.com/policy/international/4167413-putin-rails-against-
illegitimate-sanctions-on-russia/; Russia calls U.S. sanctions against Turkey over S-400 system
illegitimate, REUTERS, December 14, 2020, available at https://www.reuters.com/article/us-
turkey-sanctions-russia/russia-calls-u-s-sanctions-against-turkey-over-s-400-system-illegitimate-
ifx-idUSKBN28O2N7/?edition-redirect=uk.

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service was “consistent with . . . U.S. foreign policy” than a mobster can claim to be acting

“consistent with . . . U.S. law enforcement policy” because the rivals he targets are also criminals.

Cf. United States v. Eppolito, 543 F.3d 25, 27-33 (2d Cir. 2008) (describing two retired police

detectives who went to work for certain organized crime members against their mafia rivals).

        No one knows this better than McGonigal. During an October 5, 2020 forum at a prominent

think tank, McGonigal—who was one of the panelists—explained that members of Russia’s

equivalent to the FBI were causing “an erosion . . . in any rule of law” in Russia by “operating at

the behest of the highest bidder” becoming “effectively private contractors to those who were

trying to eliminate . . . rival businessmen,” among other targets. 4 McGonigal’s own words thus

prove the damage to the rule of law he did by using the contacts, skills, and influence he gained at

the FBI to help Deripaska target a rival businessman, including by seeking to manipulate an

American government agency. See United States v. Alston, 899 F.3d 135, 151 (2d Cir. 2018)

(“Society is victimized in a particularly malign way when a police officer aids crime instead of

stopping it.”).

        Finally, the small monetary gain that McGonigal achieved—$17,500—should not create

the impression that his crimes were small in scale. McGonigal had only begun to profit from his

scheme when the FBI broke it up. (PSR ¶ 27). To that point, McGonigal had spent most of the

money paid to him on expenses (PSR ¶ 30)—which is to say, on actually trying to help Deripaska.

McGonigal had promised a subcontractor that work for this “client”—who the subcontractor did

not know was Deripaska—would eventually lead to “much more . . . to the tune of millions.”




4
       McGonigal’s statements are recorded at https://www.atlanticcouncil.org/event/report-
launch-lubyanka-federation, at approximately 30:10 to 31:00.

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(Ex. B). 5 And at the moment his scheme came to an end, McGonigal was negotiating a purchase

of information for Deripaska, which he planned to pass on to his employer with a multimillion-

dollar markup. (PSR ¶ 27). In short, McGonigal would have profited handsomely from turning

his skills against his country, had the agents he used to supervise not stopped him. (See PSR ¶ 15

(noting that McGonigal supervised the New York Counterintelligence Division); Dkt. 85 at 23,

Dkt. 87 at 8 (noting that this case was investigated by the same division)).

        B.      The Need to Promote Respect for the Law and to Provide Just Punishment

        Given the seriousness of McGonigal’s crimes, the maximum available sentence is also

necessary “to promote respect for the law, and to provide just punishment for the offense.”

§ 3553(a)(2)(A). McGonigal did not simply violate sanctions emplaced to protect U.S. national

security. He did so after having previously held a position of trust in enforcing those sanctions.

And he did so using the special investigative skills he developed with the FBI to prevent violations

of our national security laws—not to participate in them. (See PSR ¶ 40). Moreover, McGonigal

laid the groundwork for this plan while serving as an SAC, using that critical position to advance

himself at the expense of his country. (PSR ¶¶ 20-22). Promoting respect for the law and

providing just punishment thus demands a stern sentence, so that the American public knows that

its government will not allow its officials to exploit their power in service of self. See, e.g., United

States v. Sampson, 898 F.3d 287, 314 (2d Cir. 2018) (finding above-Guidelines sentence justified

by district court’s reasoning that “there has to be a sense that we give to the public that we are




5
       Exhibit B is an excerpt of a WhatsApp message chain between McGonigal—“Charlie” in
the exhibit—and the subcontractor—“Michael” in the exhibit—discussed in paragraph 27 of the
Presentence Report. The full message chain was provided to McGonigal in discovery and can be
provided to the Court upon request.

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going to safeguard the integrity of our system . . . . That we will hold our public officials to a

higher standard . . . .”).

        McGonigal, however, asks for a “non-custodial sentence” (Br. 2)—meaning his total term

of imprisonment would be the weekend he spent waiting to be arraigned. Such meager punishment

would hardly comport with society’s understanding of just punishment, and would undermine

respect for the law. McGonigal’s contrary arguments have already been rejected by the Second

Circuit. According to him, it is enough that his conviction has cost him his job, his reputation, and

embarrassed him before his family. (Br. 23). But as the Court of Appeals has explained, that does

not constitute just punishment because “[t]hose are consequences generally suffered by anyone

accused and convicted of a crime,” especially a serious one. United States v. Cutler, 520 F.3d 136,

170-71 (2d Cir. 2008) (holding district court erred as a matter of law in imposing non-incarceratory

sentence on grounds that humiliation and loss of law license adequately punished convicted

attorney). 6 To suggest that McGonigal can be adequately punished merely by loss of status is to

reward him for the very privileges he abused, by suggesting that only less fortunate defendants

need to be jailed, because they have so much less to lose. See id. (“[T]he imposition of a

nonincarceratory sentence on the basis that a defendant has suffered sufficiently simply because

he was prosecuted and convicted would create unwarranted disparities among similarly situated

defendants.”).



6
        The Second Circuit later abrogated Cutler because its review of the district court’s
sentencing analysis was unduly searching. The Circuit has, however, continued to rely on Cutler’s
substantive reasoning in explaining why privileged defendants like McGonigal do not deserve
lenient treatment. See Watts v. United States, No. 21-2925, 2023 WL 2910634, at *3 & n.2 (2d
Cir. Apr. 12, 2023) (citing Cutler and holding that sentencing court should not place undue
emphasis on wealthy defendant’s ability to pay restitution, to avoid creating unwarranted
sentencing disparities with less well-off defendants).

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       C.      The Need to Afford Adequate Deterrence to Criminal Conduct

       Deterring former government officials—particularly those responsible for our national

security—from abusing their positions in the service of hostile foreign actors also requires a

sentence at the top of the Guidelines range. See § 3553(a)(2)(B). Crimes such as McGonigal’s

“are hard to detect and prosecute, and so the sentence imposed must be sufficient to deter conduct

of this sort.” United States v. Burman, 16 Cr. 190 (PGG), 2020 WL 3182766, at *5 (S.D.N.Y.

June 13, 2020) (internal quotation marks omitted). Many counterintelligence professionals may

believe—not entirely without reason—that they have the skills and inside knowledge to commit

national security crimes while evading detection. McGonigal also believed he could profit “to the

tune of millions”—certainly a sum Deripaska could afford to pay. Preventing others from

following in McGonigal’s footsteps thus supports a sentence at the top of the Guidelines. See

United States v. Heffernan, 43 F.3d 1144, 1149 (7th Cir. 1994) (“Considerations of (general)

deterrence argue for punishing more heavily those offenses that either are lucrative or are difficult

to detect and punish, since both attributes go to increase the expected benefits of a crime and hence

the punishment required to deter it.”).

       D.      The Guidelines Recommendation

       Although McGonigal gives short shrift to the recommended Guidelines sentence (Br. 23-

24), it is among the factors this Court considers by statute. See § 3553(a)(4). And although the

Court cannot presume that a sentence within the Guidelines will always be reasonable, “[i]n the

overwhelming majority of cases, a Guidelines sentence will fall comfortably within the broad

range of sentences that would be reasonable in the particular circumstances.” United States v.

Bryant, 976 F.3d 165, 181 (2d Cir. 2020). Precedent thus commends the Guidelines “as a




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‘benchmark or a point of reference for departure.’” United States v. Bershan, 845 F. App’x 37, 41

(2d Cir. 2021) (quoting United States v. Villafuerte, 502 F.3d 204, 210 (2d Cir. 2007)).

       None of the facts of this case warrant a variance from the Guidelines. McGonigal was a

senior official in America’s justice system. He then turned the skills and influence he gained there

against America’s laws. The justice system should not now be seen to treat one of its own with

particular leniency.

       E.      The History and Characteristics of the Defendant

       The most important aspect of McGonigal’s history and characteristics, § 3553(a)(1), is that

he was a senior FBI official who engaged in a sustained pattern of crime and misconduct in a bid

to enrich himself. As discussed throughout, he began laying the groundwork for the crimes here

while serving as SAC, and through the use of that position. (PSR ¶¶ 20-21). At the same time, he

was also lying to the FBI in order to conceal foreign travel connected to receiving an unreported

$225,000 loan, “engaging in personal business development efforts while still working for the

FBI,” and establishing an unreported, ongoing relationship with the Prime Minister of Albania.

(PSR ¶ 48). 7 McGonigal also used an email address in a fake name, and a phone number registered

under that name, to conceal his illegal conduct, precisely because he knew it was wrong. (PSR



7
       This conduct forms the basis for McGonigal’s separate conviction before the Honorable
Colleen Kollar-Kotelly, United States District Judge, in the District of Columbia. (PSR ¶ 48). The
Government agrees with McGonigal that the punishment for that conduct should be determined
by Judge Kollar-Kotelly. (See Br. 4 n.1). With respect to McGonigal’s history and characteristics,
however, it is appropriate for this Court and Judge Kollar-Kotelly to consider all of McGonigal’s
misdeeds, because they show that McGonigal did not commit a single aberrant act, but rather
engaged in a sustained pattern of crime for multiple years. See Witte v. United States, 515 U.S.
389, 403 (1995) (increasing sentence for instant crime based on prior crime for which defendant
was separately sentenced does not violate double jeopardy clause); United States v. Santiago, 806
F. App’x 32, 34 (2d Cir. 2020) (sentencing court’s examination of defendant’s criminal history
was appropriate inquiry into history and characteristics of the defendant, not “double counting”).

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¶ 20). In short, from at least 2017 until he was caught in 2021, McGonigal abused a position of

great public trust, and the prestige that job gave him even after retiring, putting himself above his

country and his fellow citizens.

       McGonigal describes his motive as trying “to find a way to earn a living.” (Br. 7). That is

absurd. In 2021—the year he went on Deripaska’s payroll—McGonigal and his wife reported an

adjusted gross income of over $850,000. (PSR ¶ 84). Even now, after the considerable expenses

of litigating this case, he boasts nearly $1.5 million dollars in assets, including ownership of a

Manhattan apartment, a luxury car, and over $500,000 in cash. (PSR ¶ 84). That is, even without

the millions he sought to earn from Deripaska, McGonigal would have been far better off than

most Americans. He thus bears no resemblance to those criminal defendants who can legitimately

claim financial hardship as a mitigating circumstance. Cf., e.g.¸ United States v. Sanchez, 433 F.

App'x 44, 45 (2d Cir. 2011) (district court did not abuse discretion in considering defendant’s

“poverty” as mitigating factor).

       As another mitigation argument, McGonigal points to his service with the FBI in the period

before he began committing crimes. (Br. 8-12). His factual claims here appear accurate, if not

entirely unvarnished. 8 There is, at least, no dispute that McGonigal had a successful career in the


8
        The law enforcement and counterintelligence agents who reviewed McGonigal’s cited
exploits noted that he often claims credit for operations in which his personal involvement was
less significant than the operation itself. For example, in both his classified and unclassified
submissions, McGonigal may describe a significant investigation where he—along with many
other officials—was simply somewhere in a lengthy chain of command. (See PSR ¶ 82). Thus,
to the extent this Court is inclined to parse McGonigal’s career achievements, the Government
respectfully submits that it should limit its analysis to the specific actions that McGonigal
personally took. See United States v. Canova, 412 F.3d 331, 358-59 (2d Cir. 2005) (Guidelines
departure for exceptional public service warranted where defendant served as volunteer firefighter
“sustaining injuries in the line of duty three times,” “entering a burning building to rescue a three-
year old,” “participated in the successful delivery of three babies,” and administered CPR to
persons in distress both while volunteering as a firefighter and as a civilian).

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FBI. But the reward for such a career is not supposed to be leniency at one’s sentencing. And

McGonigal had already been amply compensated for his service: The Bureau promoted him to

one of its most preeminent positions (Br. 12), where he also received significantly more

compensation than the average agent and much more than the average taxpayer (see PSR ¶ 82).

Based on his experience at the FBI, McGonigal’s retirement led immediately to a lucrative position

as head of global security for a “prestigious international company.” (Br. 3; see also PSR ¶¶ 81,

84). Moreover, McGonigal was able to commit the instant crimes, and those crimes were so

damaging, precisely because of the senior position he occupied at the FBI, and McGonigal became

SAC precisely because he convinced the FBI that his prior performance was exceptional.

           It is thus perverse for McGonigal to seek leniency based on the same achievements that

laid the foundation for his crimes. As one court in this District explained when denying a white-

collar defendant credit for his prior public service:

           It is precisely the defendant’s mantle of integrity and benevolence that serves as
           cover for an invidious end, enabling him to move about his game undetected, the
           better to prey upon those who least expect it. In other words, it is the widespread
           recognition in the community that the defendant enjoys for strong character,
           integrity, sound values and good public deeds that facilitates his hidden life of
           crime. The two aspects go hand in hand.

United States v. Fishman, 631 F. Supp. 2d 399, 403 (S.D.N.Y. 2009); see also United States v.

Repking, 467 F.3d 1091, 1096 (7th Cir. 2006) (denying bank president credit for charitable works

where those “charitable works [we]re entirely consistent with a bank’s business development

plan.”).

           McGonigal also touts letters from a handful of former employees, proclaiming him to have

been a great boss and an exemplary agent. (Br. 12-13). The Court should not give these letters

great weight, for two reasons. First, one should expect a senior leader in the FBI to be a good

manager and a successful agent, and so it would be of limited import if McGonigal had

                                                   15
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competently performed the job which he also used to commit his crimes. See United States v.

Serafini, 233 F.3d 758, 773 (3d Cir. 2000) (good works as a legislator “reflect[] merely the political

duties ordinarily performed by public servants” and “if a public servant performs civic and

charitable work as part of his daily functions, these should not be considered in his sentencing

because we expect such work from our public servants”).

       Second, there is reason to think that McGonigal did not draw his letters from a

representative sample of former subordinates. In the course of the investigations into McGonigal,

many agents who formerly worked for McGonigal were interviewed. A significant number

reported that his management style was unethical, condescending, inappropriate, or marked by

favoritism. (See, e.g., Ex. C, D, E).9 The point is not that this Court must determine whether

McGonigal was, or was not, a good leader. Any supervisor will have both fans and detractors. 10

The point is that there is nothing so exceptional about McGonigal’s leadership record that it should

distract from the proper focus of sentencing, his serious crimes.

       For similar reasons, McGonigal should not obtain a light sentence on the ground that he

was an upstanding member of the community, when not committing felonies to enrich himself.

(See Br. 13-15). Courts are rightly reluctant to give those who rose high in society, then abused



9
        The attached reports of interviews are requested to be filed under seal because some of the
interviewees continue to work in counterintelligence, and some of the information they contain is
the subject of continued investigation. In the interviews, McGonigal is referred to as “Deacon
Blues” or “DB,” which were pseudonyms used to mask his identity during the course of the
investigation.
10
        For example, media interviews of a third set of former employees revealed one who
characterized McGonigal’s leadership style as “kiss up, kick down”—meaning he ingratiated
himself with superiors but abused subordinates—while another saw his abrasive style as merely
par for the course in a rough-and-tumble law enforcement organization.                     See
https://www.businessinsider.com/fbi-charlie-mcgonigal-labyrinth-oleg-deripaska-russia-trump-
allison-guerriero-2023-2.

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their positions, too much credit for having impressed their friends and neighbors along the way.

As one court explained, “excellent character references are not out of the ordinary for an executive

who commits white-collar crime; one would be surprised to see a person rise to an elevated position

in business if people did not think highly of him or her.” United States v. McClatchey, 316 F.3d

1122, 1135 (10th Cir. 2003); see also Repking, 467 F.3d at 1095 (“[I]t is usual and ordinary, in the

prosecution of similar white-collar crimes involving high-ranking corporate executives … to find

that a defendant was involved as a leader in community charities, civic organizations, and church

efforts.”); United States v. Morgan, No. 13-6025, 2015 WL 6773933, at *22 (10th Cir. Nov. 6,

2015) (district court imposing sentence on senior public official erred in giving undue weight to

letters of support. “One does not become President Pro Tem without the confidence of many

supporters, some quite influential.”).

       Moreover, anyone who would describe McGonigal as “selfless, always thinking of others

before himself” (Br. 14) has plainly seen only one side of his character. Most obviously,

McGonigal’s crimes in this case and the case before Judge Kollar-Kottelly can in no way be

described as selfless. But even in less felonious matters, McGonigal seemed to view his lofty title

as a means to self-indulgence. While in office, McGonigal misused his position to, for example,

have an FBI agent chauffeur a woman who described herself as McGonigal’s girlfriend. (See

Ex. F). When he retired, McGonigal improperly kept his FBI credentials, continuing to use them

until November 2021. (See Ex. F, G). McGonigal also continued to use his FBI placard—a sign

that active law enforcement agents can place inside their windshield to avoid being towed or

ticketed when they are required to park illegally for operational reasons. (See Ex. H (photograph

taken during the course of this investigation, showing McGonigal’s parked car displaying his

placard years after his retirement)). Although hardly significant compared to his criminal offenses,


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such petty abuse of the fruits of his service refutes any notion that he has “always conducted

himself with honesty, integrity, and professionalism” (Br. 13), even leaving aside the instant

offense.

       Finally, McGonigal describes an interview with other government agencies, at which he

answered questions about misconduct others may have committed and his own conduct. (Br. 15-

16). The U.S. Attorney’s Office conducting this prosecution did not request that meeting, did not

attend that meeting, and has little knowledge of what was said there, beyond a brief summary from

one of its participants—who characterized the contents of McGonigal’s statements as, in

substance, insignificant. There thus appears to be no basis for McGonigal to “presume” that his

statements were “of some assistance.” (Br. 16). 11 Nor can McGonigal seek sentencing credit for

this meeting by citing United States v. Fernandez, 443 F.3d 19, 33 (2d Cir. 2006), abrogated by

Rita v. United States, 551 U.S. 338 (2007). As McGonigal notes, that case states that a sentencing

court could consider a defendant’s efforts to cooperate with the Government even if those efforts

did not result in a cooperation agreement. (Br. 16). But its holding was that the district court was

within its discretion to conclude “that the cooperation was fitful and that it should not be used to

lighten [the defendant’s] sentence.” Fernandez, 443 F.3d at 34 (internal quotation marks omitted).

This Court should reach the same conclusion with respect to McGonigal’s attempt to obtain a

lenient sentence by attending a single meeting.




11
       The Court should not infer from McGonigal’s sealing of the corresponding paragraph in
his submission that he has provided information of any value. The Government did not ask that
this paragraph be sealed. Rather, McGonigal’s attorney informed the undersigned and the
Washington, D.C. prosecutors that he intended to seal the paragraph, and neither objected.

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       F.      The Need to Avoid Unwarranted Sentencing Disparities

       The need to avoid unwarranted disparities in sentences imposed on similarly situated

defendants, § 3553(a)(6), also supports a 60-month sentence and $200,000 fine. McGonigal

dedicates a significant portion of his brief to distinguishing other sanctions cases in which similar

sentences were imposed, in an effort to show that his conduct was less serious. (Br. 16-22). Those

cases are different, but not in a way that helps McGonigal.

       As McGonigal correctly notes, many sanctions cases in which significant sentences were

imposed concerned the export of goods with potential military uses. (Br. 17-19). But none of the

cases McGonigal describes involved a former high-ranking American government official selling

his services to an agent of Vladimir Putin. To the contrary, each concerned a private person with

little or no duty of loyalty to the United States. (See Br. 18-19 (citing Bahadorifar (Iranian national

employed at department store providing financial services to Iranian intelligence agent); United

States v. Gavidel, et al, 01 Cr. 417 (TPG) (S.D.N.Y. 2001) (Iranian national violating sanctions

against Iran in conduct of illegal business); United States v. Zhang, 12 Cr. 666 (NGG) (E.D.N.Y.

2012) (Chinese national who operated private business violating sanctions against China); United

States v. McKeeve, 131 F.3d 1, 5 (1st Cir. 1997) (United Kingdom national who operated private

business violating sanctions against Libya); United States v. Phillips, 11 Cr. 757 (E.D.N.Y. 2011)

(career criminal working odd jobs in construction violating sanctions against Iran); United States

v. Kuyumcu, 16 Cr. 308 (DLI) (E.D.N.Y. 2016) (Turkish national who operated private businesses

violating sanctions against Iran); United States v. Tamimi, 12 Cr. 615 (JPO) (S.D.N.Y. 2012)

(Iranian national working as engineer violating sanctions against Iran); United States v. Taherkhani

et al, 13 Cr. 4228 (DMS) (S.D.C.A. 2013) (agent of Emirati corporation violating sanctions against

Iran); United States v. Woodford, 03 Cr. 070 (E.D.N.Y. 2003) (businesswoman who owned


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Singaporean company violating sanctions against Iran); United States v. Liang, 10 Cr. 116 (DOC)

(C.D.C.A) (businessman who owned California company violating sanctions against China)).

       That distinction matters. McGonigal’s crimes represent a direct abuse of the public’s trust

in him: He laid the groundwork for his offenses through his official position, while serving in it,

and used the special skills he gained with the FBI to commit those crimes. (See PSR ¶¶ 20-22, 30).

Courts should “hold our public officials to a higher standard,” Sampson, 898 F.3d at 314, than

foreign nationals violating the sanctions imposed against their country of origin. McGonigal’s

crimes are thus better compared with the sentences imposed on former public officials who abused

their positions than, for example, an Iranian businessman selling carbon fiber to Iran. And such

officials have received harsher sentences than the Government seeks here. As one Court in this

District explained when imposing an 84-month sentence on a state senator who paid bribes in an

effort to obtain a nomination for New York City Mayor, in punishing such crimes: “the law takes

into consideration the fact they they’re public servants. That’s what makes the crime so serious. It

is that we are entitled to expect our public officials to only engage in selfless good deeds and to

only legislate in the best interests of their constituents and to act in a way that is exemplary.”

United States v. Smith, 13 Cr. 297 (KMK), Dkt. 461 at 21-22 (S.D.N.Y. July 1, 2015).

       McGonigal also cannot reasonably analogize his case to instances in which foreign

businessmen violated U.S. sanctions by selling innocuous goods. (Br. 20-21). 12 McGonigal




12
       Even less reasonable is McGonigal’s invocation of United States v. Singh, 877 F.3d 107,
116 (2d Cir. 2017). (Br. 22). In that case, a district court sentenced the defendant to 60 months’
imprisonment for unlawfully re-entering the country after having been previously deported. In
cataloguing the many reasons that sentence was inappropriate, the Second Circuit noted that the
Guidelines Range was 15 to 21 months’ imprisonment, the Government had sought a within-
Guidelines sentence, and most sentences for illegal re-entry are far below 60 months. 77 F.3d at
116. Here, by contrast, the Guidelines recommend a sentence of 57 to 60 months, the Government

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provided services, not goods. And the value of those services should not be underestimated: the

investigative skills, contacts, and influence of a former senior American counterintelligence officer

are of obvious, and dangerous, value to an agent of Vladimir Putin. Although the first task

Deripaska assigned his new recruit may not have appeared particularly nefarious, McGonigal was

hoping to do millions of dollars in future work for the oligarch. (Ex. B). And regardless of the

particular task at hand, McGonigal was selling something just as useful to America’s enemies as

military grade technology: the “erosion . . . in any rule of law” that ensues when a nation’s

counterintelligence professionals begin “operating at the behest of the highest bidder,” to use

McGonigal’s description of his own crimes. (Supra at 3 & n.3). Thus, should this Court accept

McGonigal’s invitation to “consider the degree to which the violation threatened a security interest

of the United States” (Br. 24 (quoting U.S.S.G. § 2M5.1 app. n.2)), that consideration supports

imposing the maximum sentence allowed by law.

       The first sanctions case McGonigal discusses (see Br. 17) helps illustrate why this Court

should sentence him to five years in prison. In Bahadorifar, Judge Abrams sentenced a woman

whom the court viewed as “sympathetic in many respects” because Bahadorifar (1) “has no

criminal history”; (2) “is beloved by friends and family”; and (3) “has faced many serious

challenges in her life”—including escaping from Iran’s “terror regime” and a forced, abusive

marriage, and enduring serious health issues. (Ex. A (Bahadorifar sentencing transcript) at 34,

36). Bahadorifar’s crimes were also “egregious” (id.)—but not quite so egregious as the Court

might infer from McGonigal’s submission (see Br. 17). Bahadorifar violated the sanctions against

Iran by providing financial support to someone she knew to be an Iranian intelligence agent.



is seeking a sentence at the top of that range, and similar sentences are—as the cases catalogued
by McGonigal show (Br. 17-19)—hardly uncommon for serious sanctions violations.

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(Ex. A at 35). The extreme danger of that crime was made clear by the fact that the agent was

engaged in a plot to kidnap an Iranian dissident. (Id. at 36). But—as the Government repeatedly

emphasized during sentencing—Bahadorifar had no knowledge of that plot. (Id. at 9-10, 36).

Judge Abrams nonetheless found that Bahadorifar’s crimes required a four-year sentence of

imprisonment because bad actors such as the Iranian intelligence services depend on people like

Bahadorifar to evade sanctions, and Bahadorifar profited from aiding someone she knew to be a

bad actor, even if she did not know exactly what he was up to. (Id. at 35-36).

       Comparing this case to Bahadorifar further shows why McGonigal’s conduct warrants at

least the five-year sentence the law allows. McGonigal claims some of the same mitigating factors

as Bahadorifar—both have loving families and no prior convictions.             He lacks others—in

particular, he has led a fortunate life, and was secure in his wealth and prestige when he nonetheless

chose to embark on his crimes. Also unlike Bahadorifar, McGonigal’s crimes were serial: While

she aided one agent who she knew personally, McGonigal spent years seeking out opportunities

to monetize his FBI credentials, committing both the crimes charged here and those for which he

was convicted in Washington, D.C. The gravamen of the two defendants’ crimes were similar:

They both aided people they knew full well were enemies of the United States, capable of terrible

crimes. But whereas Bahadorifar’s knowledge came from personal experience, McGonigal gained

his knowledge because his country had entrusted him with classified information, so that he could

protect it from exactly the enemies he was now helping. And Bahadorifar enjoyed none of the

power, prestige, or trust that this country awarded McGonigal. Bahadorifar was an Iranian national

who worked in a department store. That in no way excuses her, but it means that she could not

shake the public’s faith in its officials in the “particularly malign way,” Alston, 899 F.3d at 151,

that McGonigal has. If Bahadorifar’s crimes merited a four-year sentence—and Judge Abrams


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rightly concluded that they did—at least one more year is warranted to promote respect for the

law, ensure just punishment, and avoid unjust sentencing disparities here. See 18 U.S.C. § 3553(a).

IV.    The 18 U.S.C. § 3572(a) Factors

       This Court should also impose a fine of $200,000, the top of the Guidelines

recommendation. McGonigal cannot dispute that he has the funds to pay, and the motive for his

crimes was indisputably financial. A significant financial penalty should thus be imposed.

       The statutory factors to be considered before imposing a fine, in addition to the factors in

Section 3553(a), include: (1) the defendant’s income, earning capacity, and financial resources;

(2) the burden that the fine will impose upon the defendant and any of his dependents; (3) any

pecuniary loss inflicted upon others as a result of the offenses; (4) whether restitution is ordered;

(5) the need to deprive the defendant of illegally obtained gains from the offenses; and (6) the

expected costs to the Government of any imprisonment. 18 U.S.C. § 3572(a). The Guidelines

provide that district courts “shall impose a fine in all cases, except where the defendant establishes

that he is unable to pay and is not likely to become able to pay any fine.” U.S.S.G. § 5E1.2(a).

The pertinent factors are:

       (1) the need for the combined sentence to reflect the seriousness of the offense (including
       the harm or loss to the victim and the gain to the defendant), to promote respect for the law,
       to provide just punishment and to afford adequate deterrence;
       (2) any evidence presented as to the defendant’s ability to pay the fine (including the ability
       to pay over a period of time) in light of his earning capacity and financial resources;
       (3) the burden that the fine places on the defendant and his dependents relative to
       alternative punishments;
       (4) any restitution or reparation that the defendant has made or is obligated to make;
       (5) any collateral consequences of conviction, including civil obligations arising from the
       defendant’s conduct;
       (6) whether the defendant previously has been fined for a similar offense;
       (7) the expected costs to the government of any term of probation, or term of imprisonment
       and term of supervised release imposed; and
       (8) any other pertinent equitable considerations.



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U.S.S.G. § 5E1.2(d). The Guidelines further provide that, “[t]he amount of the fine should always

be sufficient to ensure that the fine, taken together with other sanctions imposed, is punitive.” Id.

The defendant bears the burden of demonstrating an inability to pay a fine. See United States v.

Salameh, 261 F.3d 271, 276 (2d Cir. 2001); United States v. Camargo, 393 F. App’x 796, 798 (2d

Cir. 2010).

       Many of the pertinent factors are already covered by the Section 3553(a) analysis above.

With respect to the considerations unique here: McGonigal has more than sufficient income and

assets to pay a significant fine and still support himself in retirement. (PSR ¶ 84). McGonigal’s

children are fully grown, McGonigal’s wife earns slightly more than he does, and her retirement

savings are apparently separate from his own. (PSR ¶¶ 84-85). Because of the nature of the

offense, McGonigal will not be required to pay restitution, reparation, or civil penalties. (See PSR

¶¶ 102-03). And if this Court imposes the five-year term of imprisonment that the Section 3553(a)

factors urge, a $200,000 fine will still fall well short of the cost of imprisoning McGonigal for his

crimes. (PSR ¶ 101).




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V.     Conclusion

       For the reasons set forth above, this Court should sentence McGonigal to a term of

60 months’ imprisonment and impose a fine of $200,000.

                                                 Respectfully submitted,

                                                 DAMIAN WILLIAMS
                                                 United States Attorney

                                           By:    /s/ Hagan Scotten
                                                 Hagan Scotten
                                                 Rebecca T. Dell
                                                 Derek Wikstrom
                                                 Assistant United States Attorneys
                                                 (212) 637-2410 / 2198 / 1085

Cc:    Defense Counsel (by ECF)




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